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 1                                                    Judge Robart
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 7                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
 8                                    AT SEATTLE
 9   UNITED STATES OF AMERICA,            )
                                          )
10                           Plaintiff,   )           NO. CR05-329JLR
                                          )
11        v.                              )
                                          )           ORDER GRANTING SECOND JOINT
12   RAMON GONSALEZ-REYES and             )           MOTION TO CONTINUE TRIAL
     ERNESTO CASTILLO-ROJAS,              )           DATE AND TO RESCHEDULE
13        a/k/a Teodulpho Castillo-Rojas, )           PRETRIAL MOTIONS
                                          )
14                           Defendants. )
     _________________________________)
15

16          THIS MATTER having come before the Court on the joint motion of the parties
17   for an order continuing the trial date in this cause and rescheduling pretrial motions, and
18   the Court having reviewed the motion and the balance of the records and files herein, the
19   Court now finds and rules as follows:
20          On August 25, 2005, defendants Ramon Gonsalez-Reyes and Ernesto Castillo-
21   Rojas, a/k/a Teodulpho Castillo-Rojas, were charged by Complaint with distribution of
22   500 grams or more of cocaine, in violation of 21 U.S.C. §§ 841(a)(1) and 841(b)(1)(B);
23   distribution of five grams or more of methamphetamine, in violation of 21 U.S.C.
24   §§ 841(a)(1) and 841(b)(1)(B); and possession of five hundred grams or more of
25   methamphetamine with intent to distribute, in violation of 21 U.S.C. §§ 841(a)(1) and
26   841(b)(1)(A). On September 7, 2005, the defendants were indicted on the same charges.
27   They appeared before Magistrate Judge Mary Alice Theiler on September 8, 2005, for
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     ORDER GRANTING SECOND JOINT MOTION TO CONTINUE TRIAL DATE
     AND TO RESCHEDULE PRETRIAL MOTIONS/GONSALEZ-REYES/CASTILLO-ROJAS - 1
     (GONSALEZ-REYES.CONT2.ORD)                                                   UNITED STATES ATTORNEY
     CR05-329JLR                                                                   700 Stewart Street, Suite 5220
                                                                                  Seattle, Washington 98101-1271
                                                                                           (206) 553-7970
              Case 2:05-cr-00329-JLR       Document 38      Filed 11/21/05    Page 2 of 4



 1   arraignment. Pretrial motions were due on September 29, 2005, and trial was scheduled
 2   to begin on November 15, 2005. Both defendants have been ordered detained pending
 3   trial.
 4            On October 4, 2005, the Court granted the defendants’ unopposed motions to
 5   continue the deadline for filing pretrial motions from September 29, 2005, to October 13,
 6   2005.
 7            On October 17, 2005, subsequent to the appearance of new counsel for the
 8   United States, the Court granted the joint motion of the parties to continue the trial date to
 9   December 13, 2005. Since that date, the parties have engaged in a discovery conference
10   and supplemental discovery materials have been produced to defense counsel by the
11   United States. In addition, critical laboratory results were received by the United States
12   only recently. Accordingly, counsel have agreed that additional time is required to
13   evaluate the discovery materials. In addition, counsel for defendant Ramon Gonsalez-
14   Reyes has a scheduling conflict with the December 13, 2005, trial date. The parties have
15   agreed that the trial date should be continued in order to ensure all counsel the reasonable
16   time necessary for effective preparation, taking into account the exercise of due diligence,
17   and to ensure the continuity of defense counsel for defendant Gonsalez-Reyes.
18            It appearing to the Court that the failure to grant the requested continuance would
19   effectively deny all counsel the reasonable time necessary for effective preparation,
20   taking into account the exercise of due diligence, and further deny defendant Gonsalez-
21   Reyes continuity of counsel, and it further appearing to the Court that the ends of justice
22   served by granting the requested continuance outweigh the interest of the public and the
23   defendants in a speedy trial,
24            IT IS HEREBY ORDERED that the joint motion of the parties to continue the trial
25   date is GRANTED.
26            IT IS FURTHER ORDERED that the Government’s response to the pending
27   suppression motion filed on behalf of defendant Ernesto Castillo-Rojas, a/k/a Teodulpho
28
     ORDER GRANTING SECOND JOINT MOTION TO CONTINUE TRIAL DATE
     AND TO RESCHEDULE PRETRIAL MOTIONS/GONSALEZ-REYES/CASTILLO-ROJAS - 2
     (GONSALEZ-REYES.CONT2.ORD)                                                    UNITED STATES ATTORNEY
     CR05-329JLR                                                                    700 Stewart Street, Suite 5220
                                                                                   Seattle, Washington 98101-1271
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            Case 2:05-cr-00329-JLR      Document 38      Filed 11/21/05     Page 3 of 4



 1   Castillo-Rojas shall be due on or before January 19, 2006. The motion shall be renoted
 2   on the Court’s motion calendar for January 20, 2006.
 3          IT IS FURTHER ORDERED that the trial date shall be continued from Tuesday,
 4   December 13, 2005, to Tuesday, February 21, 2006.
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     ORDER GRANTING SECOND JOINT MOTION TO CONTINUE TRIAL DATE
     AND TO RESCHEDULE PRETRIAL MOTIONS/GONSALEZ-REYES/CASTILLO-ROJAS - 3
     (GONSALEZ-REYES.CONT2.ORD)                                                UNITED STATES ATTORNEY
     CR05-329JLR                                                                700 Stewart Street, Suite 5220
                                                                               Seattle, Washington 98101-1271
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            Case 2:05-cr-00329-JLR       Document 38     Filed 11/21/05     Page 4 of 4



 1         IT IS FURTHER ORDERED that the period of delay from until December 15,
 2   2005, to February 21, 2006, is excludable time pursuant to 18 U.S.C. § 3161(h)(8)(A),
 3   for the purpose of computing the time limitations imposed by the Speedy Trial Act,
 4   18 U.S.C. §§ 3161-3174.
 5         DATED this 21st of November, 2005.
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                                                    A
                                                    JAMES L. ROBART
                                                    United States District Judge
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11   Presented by:
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     ORDER GRANTING SECOND JOINT MOTION TO CONTINUE TRIAL DATE
     AND TO RESCHEDULE PRETRIAL MOTIONS/GONSALEZ-REYES/CASTILLO-ROJAS - 4
     (GONSALEZ-REYES.CONT2.ORD)                                                UNITED STATES ATTORNEY
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